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                                                                         4                                    UNITED STATES DISTRICT COURT

                                                                         5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                                                         7     JAMES SWEET, et al.,                              Case No. 17-cv-03953-EMC

                                                                         8                    Plaintiffs,
                                                                                                                                 ORDER GRANTING DEFENDANTS’
                                                                         9               v.                                      MOTION TO DISMISS
                                                                         10    GOOGLE INC., et al.,                              Docket No. 29

                                                                         11                   Defendants.

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                               For the Northern District of California




                                                                         13          Plaintiffs are James Sweet, Chuck Mere, and Zombie Go Boom, LLC (collectively

                                                                         14   “Zombie”). Mr. Sweet and Mr. Mere are the owners of Zombie Go Boom, which operates a

                                                                         15   channel – Zombiegoboom – on YouTube. Zombie has been able to “monetize” the content it

                                                                         16   displays on its YouTube channel because Defendants Google, LLC and/or YouTube, LLC

                                                                         17   (collectively, “YouTube”) have a program under which content providers can get a cut of the

                                                                         18   revenue that YouTube makes from third-party advertisements. Zombie has filed a class action
                                                                         19   lawsuit against YouTube, asserting that its revenues and the revenues of other content providers

                                                                         20   have significantly fallen after YouTube put restrictions on the placement of advertisements that

                                                                         21   did not meet YouTube guidelines. Currently pending before the Court is YouTube‟s motion to

                                                                         22   dismiss.

                                                                         23          Having considered the parties‟ briefs and accompanying submissions, as well as the oral

                                                                         24   argument of counsel, the Court hereby GRANTS the motion to dismiss.

                                                                         25                        I.       FACTUAL & PROCEDURAL BACKGROUND

                                                                         26          In its first amended complaint (“FAC”), Zombie alleges as follows.
                                                                         27          “YouTube is [a] video-sharing website, which contracts with content providers to upload

                                                                         28   videos, to be viewed by members of the public worldwide.” FAC ¶ 19. YouTube has been able to
                                                                         1    monetize the content on its website “by permitting third party advertisers, such as Wal-Mart,

                                                                         2    Verizon, General Motors and many others, to place advertisements at the beginning of videos.”

                                                                         3    FAC ¶ 22. YouTube shares the advertising revenue it makes with content providers, which is an

                                                                         4    incentive for content providers “to focus on creating content as a full time job.” FAC ¶ 23.

                                                                         5             Zombie is a content provider who, prior to the alleged misconduct by YouTube, was able

                                                                         6    to earn a living wage by working exclusively as a YouTube content provider. See FAC ¶ 24

                                                                         7    (alleging that Zombie had over 1.6 million subscribers to its YouTube channel). From

                                                                         8    approximately 2011, when the Zombiegoboom channel was founded, until the time of the alleged

                                                                         9    YouTube misconduct, Zombie made approximately $10,000 to $15,000 per month. See FAC ¶¶

                                                                         10   25-26.

                                                                         11            YouTube uses a program called AdSense to control placement of advertisements,

                                                                         12   depending on content provided and audience.1 See FAC ¶ 22. In or about March 2017, YouTube
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                                                                         13   changed the algorithm used in AdSense. Apparently, YouTube took action because, in early 2017,

                                                                         14   it “was hit with a wave of bad press” after advertisements were placed on videos that contained

                                                                         15   hate speech and sexually explicit material, FAC ¶ 28, which, in turn, led to “approximately five

                                                                         16   percent of YouTube‟s advertisers [to] back[] out of agreements to place their advertisements on

                                                                         17   YouTube‟s content providers‟ videos.” FAC ¶ 29. YouTube changed the AdSense algorithm

                                                                         18   without notice (advance or otherwise) to the consent providers, without the consent of content

                                                                         19   providers, and without sharing with content providers what exact substantive changes were made

                                                                         20   to the algorithm. See FAC ¶¶ 5-6, 33, 36-38. (In spite of the above allegation, Zombie seems to

                                                                         21   admit that YouTube did release new guidelines regarding restrictions put on the placement of

                                                                         22   advertisements. See FAC ¶ 5.)

                                                                         23            The change to the AdSense algorithm was “an attempt to automatically weed out

                                                                         24   inappropriate content, without the use of human oversight.” FAC ¶ 30. As it turns out, the

                                                                         25   algorithm was not effective: (1) It “under-inclusively failed to capture and demonetize content that

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                                                                              1
                                                                         27    AdSense has an algorithm that “automatically rates videos . . . in a similar way to movie ratings
                                                                              (G to R) or video game ratings such as E (for everybody) to M (for mature). After the videos are
                                                                         28   automatically put into a category, advertisers can then [choose] to filter their advertisements to
                                                                              only be placed on certain categories of videos.” FAC ¶ 33.
                                                                                                                                2
                                                                         1    was sexually explicit, racist or otherwise not in compliance with the spirit of [YouTube‟s]

                                                                         2    guidelines,” and (2) it “over-inclusively demonetiz[ed] content that did not violate the spirit of the

                                                                         3    guidelines and was not objectionable to advertisers.” FAC ¶ 7. Zombie fell into the latter

                                                                         4    category. See FAC ¶ 31. Zombie claims that there are “thousands of [other] examples” although

                                                                         5    it identifies only one other example in its FAC. FAC ¶ 40 (referring to a review for a “„review of

                                                                         6    a burger‟” which was deemed objectionable under the new AdSense algorithm). Zombie and

                                                                         7    other content providers have dubbed the date that the algorithm was changed “Adpocalypse.” See

                                                                         8    FAC ¶ 32.

                                                                         9              As a result of the algorithm change, Zombie‟s advertising revenue fell. For example, after

                                                                         10   March 27, 2017, Zombie‟s advertising revenue fell from $300-$500 per day to $20-$40 per day.

                                                                         11   See FAC ¶ 32.

                                                                         12             Adpocalypse has also affected Zombie in other economic ways. For example, prior to
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                                                                         13   Adpocalypse, a third party offered Zombie $60,000 to purchase all of its existing online content;

                                                                         14   that offer, however, was rescinded after Adpocalypse. See FAC ¶ 45. Also, prior to Adpocalypse,

                                                                         15   Zombie was offered $25,000 to promote other products (outside the context of YouTube); after

                                                                         16   Adpocalypse, Zombie was able to contract for only $3,500 – and ultimately it received only

                                                                         17   $1,1500 because the response to the promotion did not garner the business anticipated. See FAC ¶

                                                                         18   46.

                                                                         19             Based on, inter alia, the above allegations, Zombie has asserted the following claims for

                                                                         20   relief:

                                                                         21             (1) Violation of California Business & Professions Code § 17200. In its opposition brief,

                                                                         22                Zombie states that it is now proceeding with a theory of unfairness only, and not

                                                                         23                unlawfulness or fraud. See Opp‟n at 23 n.19 (“Plaintiffs will agree to dismiss their

                                                                         24                claims under the fraudulent and unlawful prongs of the UCL.”). As alleged in the

                                                                         25                FAC, YouTube has engaged in unfair conduct because it “devised and executed a

                                                                         26                material change to its advertising terms and AdSense practices, without providing any

                                                                         27                notice, either before[,] during[,] or after, in any conspicuous manner, to Plaintiffs or

                                                                         28                other providers,” and “[w]ith the intent and effect of stifling open and vigorous
                                                                                                                                  3
                                                                         1               competition in the market for content providers.” FAC ¶ 68(a). YouTube‟s conduct

                                                                         2               was also unfair in that it has “forc[ed] Plaintiffs and Class members to adhere to [its]

                                                                         3               undisclosed practices.” FAC ¶ 68(d).

                                                                         4           (2) Tortious interference with contractual relations and/or prospective economic

                                                                         5               advantage. According to Zombie, “YouTube was aware that Plaintiffs and Class

                                                                         6               members routinely enter into such related contracts with third parties, and that changes

                                                                         7               to [the] monetization structure, including demonetizing videos without notice or

                                                                         8               recourse, and altering the terms by which videos would receive compensation would

                                                                         9               have a direct impact on these contractual arrangements.” FAC ¶ 95.

                                                                         10          (3) Breach of contract. Zombie alleges that the parties had a contract under which it was

                                                                         11              “permitted to engage with YouTube as a content provider” and a contract that

                                                                         12              “governed [the] monetization structure for the posting of [its] content on YouTube.”
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                                                                         13              FAC ¶ 101. Zombie further alleges that YouTube breached the contract(s) by “altering

                                                                         14              the terms and conditions governing how Plaintiffs‟ and Class members‟ videos would

                                                                         15              be monetized.” FAC ¶ 102.

                                                                         16          (4) Breach of the duty of good faith and fair dealing. According to Zombie, YouTube‟s

                                                                         17              conduct has “unfairly prevented [Zombie] from receiving the benefits of the [above]

                                                                         18              contract[s].” FAC ¶ 110.

                                                                         19          (5) Breach of quasi-contract. Zombie alleges that YouTube “created a contract or quasi-

                                                                         20              contract through which [it] received and continues to receive a benefit of monetary

                                                                         21              compensation without providing the consideration promised to Plaintiff and Class

                                                                         22              Members.” FAC ¶ 117.

                                                                         23          YouTube now challenges Zombie‟s FAC in a 12(b)(6) motion to dismiss.2 Although

                                                                         24   YouTube‟s motion is a 12(b)(6) motion, it has filed a declaration in support of the motion and

                                                                         25   attached to the declaration are several pieces of evidence. The declaration is from a software

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                                                                         27   2
                                                                               YouTube previously moved to dismiss Zombie‟s original complaint but that motion was never
                                                                         28   heard as Zombie took the opportunity to amend its complaint instead. YouTube argues that the
                                                                              amended pleading still has the same deficiencies as the original.
                                                                                                                               4
                                                                         1    engineer at YouTube who testifies as follows:

                                                                         2              Through the YouTube website, users can upload, share, and watch videos for free. See

                                                                         3               Hawkins Decl. ¶ 2.

                                                                         4              To upload videos, a user must first create a YouTube account. During the process of

                                                                         5               creating an account, a user must assent to YouTube‟s Terms of Services Agreement

                                                                         6               (“TOS”). See Hawkins Decl. ¶ 3.

                                                                         7              The TOS incorporates YouTube‟s Community Guidelines, “which prohibit and caution

                                                                         8               users from uploading several categories of inappropriate video content.” Hawkins

                                                                         9               Decl. ¶ 4.

                                                                         10             A content provider has the option of participating “in a program that allows users to

                                                                         11              „monetize‟ their videos by allowing Google to display paid third-party advertisements

                                                                         12              in or alongside those videos.” Hawkins Decl. ¶ 5. To participate in this program,
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                                                                         13              “users must manifest their asset to additional terms and conditions. For most users,

                                                                         14              these are the standard „YouTube Partner Program Terms.‟” Hawkins Decl. ¶ 5

                                                                         15              (emphasis added). The YouTube Partner Program Terms expressly incorporate the

                                                                         16              TOS and „YouTube Partner Program Policies.‟” Hawkins Decl. ¶ 6.

                                                                         17             With respect to Zombie, it assented to the TOS on March 29, 2011 when it first created

                                                                         18              its YouTube account and YouTube channel. See Hawkins Decl. ¶ 7. In addition, it

                                                                         19              assented to the YouTube Partner Program Terms “that were operative during the time

                                                                         20              of the events alleged in the Complaint (March 2017)” on January 3, 2017. Hawkins

                                                                         21              Decl. ¶ 8.

                                                                         22          Attached to the declaration are the TOS, the Community Guidelines, the Partner Program

                                                                         23   Terms, and the Partner Program Policies. See Hawkins Decl., Exs. 1-4. YouTube argues that the

                                                                         24   Court may consider this evidence, even on a 12(b)(6) motion to dismiss, because Zombie

                                                                         25   expressly referred to the TOS and Partner Program Terms in its complaint.3 See, e.g., Swartz v.

                                                                         26
                                                                              3
                                                                         27    YouTube points, in particular, to ¶ 101 of the FAC which states as follows: “A contract existed
                                                                              between [Zombie] and Class members and [YouTube], which governed the terms and conditions
                                                                         28   by which [Zombie was] permitted to engage with YouTube as a content provider. Similarly a
                                                                              contract existed between [Zombie] and Class members and [YouTube] which governed
                                                                                                                               5
                                                                         1    KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007) (stating that, “[i]n ruling on a 12(b)(6) motion, a

                                                                         2    court may generally consider only allegations contained in the pleadings, exhibits attached to the

                                                                         3    complaint, and matters properly subject to judicial notice” but, “in order to „[p]revent[] plaintiffs

                                                                         4    from surviving a Rule 12(b)(6) motion by deliberately omitting . . . documents upon which their

                                                                         5    claims are based,‟ a court may consider a writing referenced in a complaint but not explicitly

                                                                         6    incorporated therein if the complaint relies on the document and its authenticity is unquestioned”)

                                                                         7    (emphasis added). The Court agrees that it may take into consideration the exhibits attached to the

                                                                         8    Hawkins declaration, in particular because the TOS and Partner Program Terms are referenced and

                                                                         9    relied upon in Zombie‟s complaint, and the Community Guidelines and Partner Program Policies

                                                                         10   are incorporated by reference in the TOS and Partner Program Terms, respectively. Zombie does

                                                                         11   not dispute that the documents may be taken into consideration – in fact, Zombie asks the Court to

                                                                         12   consider the documents itself.
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                                                                         13          For purposes of the pending motion, the critical contract term is one contained in the

                                                                         14   Partner Program Terms. That provision states as follows:

                                                                         15                  Advertising Revenues. YouTube will pay you 55% of net revenues
                                                                                             recognized by YouTube from ads displayed or streamed by
                                                                         16                  YouTube or an authorized third party on your Content watch pages
                                                                                             or in or on the YouTube video player in conjunction with the
                                                                         17                  streaming of your Content. YouTube is not obligated to display
                                                                                             any advertisements alongside your videos and may determine
                                                                         18                  the type and format of ads available on the YouTube Service.
                                                                                             For clarity, YouTube reserves the right to retain all other revenues
                                                                         19                  derived from the YouTube service, including any revenues relating
                                                                                             to ads on search page results.
                                                                         20

                                                                         21   Hawkins Decl., Ex. 1 (YouTube Program Partner Terms at 1) (emphasis added).

                                                                         22                                           II.   DISCUSSION

                                                                         23   A.     Legal Standard

                                                                         24                  To survive a [12(b)(6)] motion to dismiss for failure to state a claim
                                                                                             after the Supreme Court‟s decisions in Ashcroft v. Iqbal, 556 U.S.
                                                                         25                  662 (2009) and Bell Atlantic Corp. v. Twombly, 550 U.S. 544
                                                                                             (2007), [a plaintiff‟s] factual allegations [in the complaint] “must . . .
                                                                         26                  suggest that the claim has at least a plausible chance of success.” In
                                                                         27

                                                                         28   [Zombie‟s] monetization structure for the posting of [its] content on YouTube.” FAC ¶ 101
                                                                              (alleging such in breach-of-contract claim).
                                                                                                                               6
                                                                                             other words, [the] complaint “must allege „factual content that
                                                                         1                   allows the court to draw the reasonable inference that the defendant
                                                                                             is liable for the misconduct alleged.‟”
                                                                         2
                                                                                             . . . . [The Ninth Circuit has] settled on a two-step process for
                                                                         3                   evaluating pleadings:
                                                                         4                           First, to be entitled to the presumption of truth,
                                                                                                     allegations in a complaint or counterclaim may not
                                                                         5                           simply recite the elements of a cause of action, but
                                                                                                     must contain sufficient allegations of underlying facts
                                                                         6                           to give fair notice and to enable the opposing party to
                                                                                                     defend itself effectively. Second, the factual
                                                                         7                           allegations that are taken as true must plausibly
                                                                                                     suggest an entitlement to relief, such that it is not
                                                                         8                           unfair to require the opposing party to be subjected to
                                                                                                     the expense of discovery and continued litigation.
                                                                         9

                                                                         10   Levitt v. Yelp! Inc., 765 F.3d 1123, 1134-35 (9th Cir. 2014).

                                                                         11          Notably,

                                                                         12                  [t]he plausibility standard is not akin to a “probability requirement,”
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                                                                                             but it asks for more than a sheer possibility that a defendant has
                                                                         13                  acted unlawfully. Where a complaint pleads facts that are “merely
                                                                                             consistent with” a defendant's liability, it “stops short of the line
                                                                         14                  between possibility and plausibility „of entitlement to relief.‟”
                                                                         15   Iqbal, 556 U.S. at 678.

                                                                         16   B.     Failure to State a Claim for Relief – All Claims

                                                                         17          In its motion to dismiss, YouTube makes a number of arguments but the primary one is

                                                                         18   that all of Zombie‟s claims for relief lack merit because the conduct of which Zombie complains –

                                                                         19   in essence, failure on the part of YouTube to post advertisements alongside Zombie‟s content – is

                                                                         20   expressly permitted by the parties‟ contract:

                                                                         21                  [Zombie‟s] claims are precluded by the express terms of the parties‟
                                                                                             written contract. That agreement – the YouTube Partner Program
                                                                         22                  Terms – could hardly be clearer that YouTube has no obligation to
                                                                                             display ads in connection with Plaintiffs‟ videos: “YouTube is not
                                                                         23                  obligated to display any advertisements alongside your videos
                                                                                             and may determine the type and format of ads available on the
                                                                         24                  YouTube Service.” . . . .
                                                                         25                  It is a bedrock principle of California law that no cause of action
                                                                                             will lie where it is based on lawful conduct expressly permitted by a
                                                                         26                  governing contract.
                                                                         27   Mot. at 5-6 (footnote omitted; emphasis added).

                                                                         28          While the above provision places no limit on YouTube‟s decisionmaking with regard to
                                                                                                                                7
                                                                         1    advertisements, Zombie nonetheless argues that the “disclaimer” (“YouTube is not obligated to

                                                                         2    display any advertisements,” etc.) has implied limits, i.e., it must be applied in good faith or

                                                                         3    otherwise the term is unconscionable and/or the contract illusory.

                                                                         4           Zombie‟s unconscionability argument lacks merit. Zombie admits that unconscionability

                                                                         5    requires both procedural and substantive unconscionability, although there is a sliding scale – i.e.,

                                                                         6    “the more substantively oppressive the contract term, the less evidence of procedural

                                                                         7    unconscionability is required to come to the conclusion that the term is unenforceable, and vice

                                                                         8    versa.” Baltazar v. Forever 21, Inc., 62 Cal. 4th 1237, 1244 (2016) (internal quotation marks

                                                                         9    omitted). With respect to procedural unconscionability, Zombie contends that this element is

                                                                         10   satisfied because the contract(s) between it and YouTube is one of adhesion.

                                                                         11                  Whether the challenged provision is within a contract of adhesion
                                                                                             pertains to the oppression aspect of procedural unconscionability [as
                                                                         12                  opposed to the “surprise” aspect]. A contract of adhesion is
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                                                                                             imposed and drafted by the party of superior bargaining strength and
                                                                         13                  relegates to the subscribing party only the opportunity to adhere to
                                                                                             the contract or reject it. [A]bsent unusual circumstances, use of a
                                                                         14                  contract of adhesion establishes a minimal degree of procedural
                                                                                             unconscionability notwithstanding the availability of market
                                                                         15                  alternatives.”
                                                                         16   Walnut Producers of California v. Diamond Foods, Inc., 187 Cal. App. 4th 634, 646 (2010)

                                                                         17   (internal quotation marks omitted). Arguably, the label of “adhesion contract” is not entirely fair

                                                                         18   in the instant case. The instant case is not, e.g., a consumer or employment case where adhesive

                                                                         19   contracts are typically found. Even if the contract(s) at issue were deemed adhesive, that simply

                                                                         20   establishes a minimal degree of procedural unconscionability such that Zombie would have to

                                                                         21   establish a fair amount of substantive unconscionability in order to prevail. Cf. Darnaa, LLC v.

                                                                         22   Google, Inc., No. 15-cv-03221-RMW, 2015 U.S. Dist. LEXIS 161791, at *5 (N.D. Cal. Dec. 2,

                                                                         23   2015) (in a case where plaintiff sued regarding the removal and relocation of its music video on

                                                                         24   YouTube, “find[ing] the level of procedural unconscionability to be slight, as plaintiff does not

                                                                         25   lack meaningful choice”; even though YouTube “„is undoubtedly a popular video-sharing

                                                                         26   website,‟” plaintiff “could have publicized the music video „by putting it on various other file-

                                                                         27   sharing websites or on an independent website‟”).

                                                                         28          Zombie argues there is substantive unconscionability because cases have held that a term
                                                                                                                                 8
                                                                         1    that allows a party to unilaterally modify a contract is unenforceable.4 See, e.g., Ingle v. Circuit

                                                                         2    City Stores, Inc., 328 F.3d 1165, 1179 (9th Cir. 2003) (discussing a term that gave employer right

                                                                         3    to modify or terminate any and all dispute resolution agreements with its employees unilaterally;

                                                                         4    finding such term substantively unconscionable). But this case law is not on point because

                                                                         5    Zombie has pointed to no term within YouTube‟s TOS or Program Partner Terms that gives

                                                                         6    YouTube has such unilateral right to modify the contract. The term at issue in the instant case –

                                                                         7    i.e., “YouTube is not obligated to display any advertisements alongside your videos,” etc. – has

                                                                         8    been in the contract from its inception and is not a unilateral modification provision.5

                                                                         9           Absent a viable theory of unconscionability, Zombie‟s argument against dismissal comes

                                                                         10   down to its contention that there must be limits on the above provision (“YouTube is not obligated

                                                                         11   to display any advertisements alongside your videos,” etc.) based on the implied covenant of good

                                                                         12   faith and fair dealing. According to Zombie, absent application of such covenant, the contract is
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                                                                         13   illusory and thus unenforceable.

                                                                         14          While the implied covenant of good faith and fair dealing may be applied where contract

                                                                         15   terms are silent (see, e.g., Rose v. Wells Fargo & Co., 902 F.2d 1417, 1426 (9th Cir. 1990) (stating

                                                                         16   that “the implied covenant may only be used to supply a requirement of good cause for

                                                                         17   termination [of employment] when the contract between the parties is silent or ambiguous on that

                                                                         18   subject”), its application to contradict an express term of a contract is narrowly circumscribed. In

                                                                         19   this regard, Third Story Music, Inc. v. Waits, 41 Cal. App. 4th 798 (1995), is instructive. The

                                                                         20   plaintiff in Third Story was a company that owned the rights to the musical output of

                                                                         21

                                                                         22   4
                                                                                Zombie primarily relies on federal case law because state case law is somewhat less forgiving.
                                                                         23   See Ridgeway v. Nabors Completion & Prod. Servs. Co., 139 F. Supp. 3d 1084, 1091-92 (C.D.
                                                                              Cal. 2015) (comparing California case law holding that a term providing for unilateral contract
                                                                         24   modification is permissible so long as the party‟s power to modify is limited by fairness and
                                                                              reasonable notice with federal case law holding that unilateral modification provisions can be
                                                                         25   unconscionable).
                                                                              5
                                                                         26     YouTube‟s TOS does seem to have a unilateral modification provision but that provision is not
                                                                              at issue here. See Hawkins Decl., Ex. 2 (TOS ¶ 1.B) (providing that, “[a]lthough we may attempt
                                                                         27   to notify you when major changes are made to these Terms of Service, you should periodically
                                                                              review the most up-to-date version [online and] YouTube may, in its sole discretion, modify or
                                                                         28   revise these Terms of Service and policies at any time, and you agree to be bound by such
                                                                              modifications or revisions”).
                                                                                                                               9
                                                                         1    singer/songwriter Tom Waits from 1972 to 1983. The plaintiff entered into an agreement with the

                                                                         2    defendant under which (1) the plaintiff was to produce master recordings featuring performances

                                                                         3    of Mr. Waits and (2) the defendant had the right to, inter alia, manufacture, sell, distribute, and

                                                                         4    license the recordings but the defendant “„may at [its] election refrain from any or all of the

                                                                         5    foregoing.‟” Id. at 801. As consideration, the plaintiff was to receive, as a royalty, a percentage of

                                                                         6    the amount earned by the defendant from its exploitation of Mr. Waits‟s music. In addition, the

                                                                         7    defendant was required to pay a specific dollar amount as an advance on royalties. See id.

                                                                         8           The plaintiff and defendant‟s dispute arose when the plaintiff wanted to license some of

                                                                         9    Mr. Waits‟s recordings but the defendant refused because Mr. Waits did not personally approve

                                                                         10   the licensing request. The plaintiff sued for breach of the implied covenant of good faith and fair

                                                                         11   dealing. In response, the defendant countered that “the clause in the agreement permitting it to „at

                                                                         12   [its] election refrain‟ from doing anything to profitably exploit the music is controlling and
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                                                                         13   precludes application of any implied covenant.” Id. at 802. The plaintiff, in turn, argued that,

                                                                         14   where a contract gives a party discretionary power, that power must be exercised in good faith.

                                                                         15          The court posed the issue that is particularly apt here: “When an agreement expressly gives

                                                                         16   to one party absolute discretion over whether or not to perform, when should the implied covenant

                                                                         17   of good faith and fair dealing be applied to limit its discretion?” Id. (emphasis added). In

                                                                         18   answering that question, the court looked first to a California Supreme Court case, Carma

                                                                         19   Developers (Cal.), Inc. v. Marathon Development California, Inc., 2 Cal. 4t 342 (1992). There,

                                                                         20   the parties entered into a lease agreement which provided, inter alia, that, if the tenant found a

                                                                         21   potential sublessee and asked the landlord for consent to sublease, the landlord had the right to

                                                                         22   terminate the lease, enter into negotiations with the prospective sublessee, and appropriate for

                                                                         23   itself all profits. The Carma court noted that the implied covenant of good faith and fair dealing

                                                                         24   has particular application in situations where one party is invested with discretionary power

                                                                         25   affecting the rights of the other; such discretionary power must be exercised in good faith.

                                                                         26   However, the Carma court ultimately upheld the right of the landlord to terminate the lease in

                                                                         27   order to claim for itself all profit from the expected sublease. The landlord‟s right arose from an

                                                                         28   express term in the parties‟ agreement, and, in general, an implied term should not be read to vary
                                                                                                                                10
                                                                         1    an express term.

                                                                         2           The Third Story court recognized the tension in Carma and stated that it would try to

                                                                         3    reconcile the “apparent inconsistency between the principle that the covenant of good faith should

                                                                         4    be applied to restrict exercise of a discretionary power and the principle that an implied covenant

                                                                         5    must never vary the express terms of the parties‟ agreement.” Third Story, 41 Cal. App. 4th at

                                                                         6    804. The court noted first that it must take into account

                                                                         7                   a long-established rule concerning implied covenants. To be
                                                                                             imposed “„(1) the implication must arise from the language used or
                                                                         8                   it must be indispensable to effectuate the intention of the parties; (2)
                                                                                             it must appear from the language used that it was so clearly within
                                                                         9                   the contemplation of the parties that they deemed it unnecessary to
                                                                                             express it; (3) implied covenants can only be justified on the
                                                                         10                  grounds of legal necessity; (4) a promise can be implied only where
                                                                                             it can be rightfully assumed that it would have been made if
                                                                         11                  attention had been called to it; (5) there can be no implied covenant
                                                                                             where the subject is completely covered by the contract.‟”
                                                                         12
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                                                                         13   Id.

                                                                         14          The Third Story court went on to discuss several cases “cited in Carma for the proposition

                                                                         15   that a discretionary power must be exercised in good faith.” Id. For example,

                                                                         16                  [i]n Perdue v. Crocker National Bank (1985) 38 Cal. 3d 913, a bank
                                                                                             was given discretion to set nonsufficient (NSF) charges to be paid
                                                                         17                  by the customer. The contention was made that since the charges
                                                                                             were subject to the bank‟s sole discretion, the contract lacked
                                                                         18                  mutuality and was, in fact, illusory. (See Automatic Vending Co. v.
                                                                                             Wisdom (196) 182 Cal. App. 2d 354, 356 [“„An agreement that
                                                                         19                  provides that the price to be paid, or other performance to be
                                                                                             rendered, shall be left to the will and discretion of one of the parties
                                                                         20                  is not enforceable.‟”] By its ruling that “„under California law, an
                                                                                             open term in a contract must be filled in by the party having
                                                                         21                  discretion within the standard of good faith and fair dealing,‟” the
                                                                                             court in Perdue was able to impose an objective standard and save
                                                                         22                  an otherwise illusory agreement.
                                                                         23   Third Story, 41 Cal. App. 4th at 804.

                                                                         24          The Third Story court went on to explain that, in Perdue and other similar cases,

                                                                         25                  the courts were forced to resolve contradictory expressions of intent
                                                                                             from the parties: the intent to give one party total discretion over its
                                                                         26                  performance and the intent to have a mutually binding agreement.
                                                                                             In that situation, imposing the duty of good faith creates a binding
                                                                         27                  contract where, despite the clear intent of the parties, one would not
                                                                                             otherwise exist. Faced with that choice, courts prefer to imply a
                                                                         28                  covenant at odds with the express language of the contract rather
                                                                                                                                11
                                                                                             than literally enforce a discretionary language clause and therefore
                                                                         1                   render the agreement unenforceable.
                                                                         2    Id. In short, the implied covenant was applied “to contradict an express contractual grant of

                                                                         3    discretion when necessary to protect an agreement which would otherwise be rendered illusory

                                                                         4    and unenforceable” – i.e., in order to effectuate the parties‟ intent to enter into a binding contract.

                                                                         5    Id. at 806 (emphasis added); see also id. at 804-06 (discussing case and noting that “[t]he tendency

                                                                         6    of the law is to avoid the finding that no contract arose due to an illusory promise when it appears

                                                                         7    that the parties intended a contract”) (internal quotation marks omitted). But, the Third Story court

                                                                         8    asked, “[d]oes a different result ensue where the contract is unambiguous, otherwise supported by

                                                                         9    adequate consideration, and the implied covenant is not needed to effectuate the parties‟ expressed

                                                                         10   desire for a binding agreement? We believe it does . . . .” Id. at 806.

                                                                         11          The Third Story court looked at cases cited in Carma where the implied covenant was not

                                                                         12   applied to limit an express contractual provision giving complete discretion to one party. For
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                                                                         13   example,

                                                                         14                  [i]n Brandt v. Lockheed Missiles & Space Co., the employment
                                                                                             contract at issue provided that when an employee‟s invention was
                                                                         15                  deemed of sufficient value to apply for a patent and the patent
                                                                                             application was granted, the employee would in all cases receive a
                                                                         16                  total of $600. In addition, the agreement said the employer “may,
                                                                                             but is not obligated” to grant to any employee an additional “Special
                                                                         17                  Invention Award.” In response to two employees‟ claims that
                                                                                             failure to make an adequate Special Invention Award in their case
                                                                         18                  violated the covenant of good faith, the court held: “Few principles
                                                                                             of our law are better settled, than that „[t]he language of contract is
                                                                         19                  to govern its interpretation, if the language is clear and explicit. . . .‟
                                                                                             [¶] Here the language of the parties‟ contract of employment, i.e.,
                                                                         20                  the patent plan, could not be more clear and explicit. It says
                                                                                             Lockheed‟s Invention Awards Committee „may, but is not obligated
                                                                         21                  to grant a Special Invention Award,‟ and that its decision on such
                                                                                             matters „shall be final and conclusive.‟ Lockheed had fully
                                                                         22                  respected the patent plan‟s language; it may not reasonably be said
                                                                                             that in doing so it violated a „duty of good faith and fair dealing.‟”
                                                                         23                  (154 Cal. App. 3d at ¶. 1129-1130.)
                                                                         24   Third Story, 41 Cal. App. 4th at 807.

                                                                         25          The Third Story court emphasized that, in Brandt and the other like cases,

                                                                         26                  one of the parties was expressly given a discretionary power but
                                                                                             regardless of how such power was exercised, the agreement would
                                                                         27                  have been supported by adequate consideration. There was no
                                                                                             tension between the parties‟ express agreement and their intention to
                                                                         28                  be bound, and no necessity to impose an implied covenant to create
                                                                                                                                 12
                                                                                             mutuality. The conclusion to be drawn is that courts are not at
                                                                         1                   liberty to imply a covenant directly at odds with a contract‟s express
                                                                                             grant of discretionary power except in those relatively rare instances
                                                                         2                   when reading the provision literally would, contrary to the parties‟
                                                                                             clear intention, result in an unenforceable, illusory agreement. In all
                                                                         3                   other situations where the contract is unambiguous, the express
                                                                                             language is to govern, and “[n]o obligation can be implied . . . which
                                                                         4                   would result in the obliteration of a right expressly given under a
                                                                                             written contract.”
                                                                         5

                                                                         6    Id. at 808 (emphasis added).

                                                                         7           Ultimately, the Third Story court found that the case before it was more like Brandt than

                                                                         8    Perdue.

                                                                         9                   The illusory promise [i.e., that the defendant could at its election
                                                                                             refrain from all marketing efforts] was not . . . the only consideration
                                                                         10                  given by the [the defendant]. Under paragraph 33 of the 1977
                                                                                             agreement and paragraph 34 of the 1972 agreement, [the defendant]
                                                                         11                  promised to pay [the plaintiff] a guaranteed minimum amount no
                                                                                             matter what efforts were undertaken. It follows that, whether or not
                                                                         12
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                                                                                             an implied covenant is read into the agreement, the agreement would
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                                                                                             be supported by consideration and would be binding.
                                                                         13

                                                                         14   Id. The court added that, while the guaranteed payments did not appear to be large, “unless the

                                                                         15   consideration given was so one-sided as to create an issue of unconscionability, the courts are not

                                                                         16   in a position to decide whether legal consideration agreed to by the parties is or is not fair.” Id. at

                                                                         17   808 n.5.

                                                                         18          The question for the Court is whether the instant case is more like Perdue, where the

                                                                         19   implied covenant was found to apply and thus restricted defendant‟s discretion, or Brandt and

                                                                         20   Third Story, where the implied covenant was found not to contravene an express provision

                                                                         21   conferring complete discretion on the defendant. The Court finds the latter applies.

                                                                         22          Regardless of how YouTube exercised its discretionary power in determining whether to

                                                                         23   display advertisements under the Partner Program Terms, the agreement (which consists of both

                                                                         24   the TOS and Partner Program Terms) between Zombie and YouTube was supported by adequate

                                                                         25   independent consideration. In particular, YouTube allowed Zombie to post videos on its forum

                                                                         26   free of charge in exchange for getting a license to its content. See Hawkins Decl., Ex. 1 (YouTube

                                                                         27   Partner Program Terms) (providing that, “[t]ogether with the YouTube Terms of Service [TOS]

                                                                         28   and the YouTube Partner Program policies . . . , the following YouTube Partner Program Terms
                                                                                                                                13
                                                                         1    apply to your participation in the YouTube Partner Program”); Hawkins Decl., Ex. 2 (TOS ¶ 6.A-

                                                                         2    C) (providing that, “[a]s a YouTube account holder you may submit Content to the Service” and

                                                                         3    that “you retain all of your ownership rights in your Content [but], by submitting Content to

                                                                         4    YouTube, you hereby grant YouTube a worldwide, nonexclusive, royalty-free, sublicenseable and

                                                                         5    transferable license to use, reproduce, distribute, [etc.] the Content in connection with the Service

                                                                         6    and YouTube‟s . . . business”). The ability to post videos, even without advertising revenues, can

                                                                         7    be valuable to content providers in reaching a wide audience. Moreover, the YouTube Partner

                                                                         8    Program encompassed more than just advertising revenues; content can be monetized in other

                                                                         9    ways such as subscription revenues. See Hawkins Decl., Ex. 1 (YouTube Partner Program Terms)

                                                                         10   (providing that “YouTube will pay you 55% of the total net revenues recognized by YouTube

                                                                         11   from subscription fees that are attributable to the monthly views or watchtime of your Content as a

                                                                         12   percentage of the monthly views or watchtime of all or a subset of participating content in the
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                                                                         13   relevant subscription offering (as determined by YouTube)”).6 Accordingly, the provision of the

                                                                         14   Partner Program Terms conferring upon YouTube complete control over decisions regarding

                                                                         15   advertisements need not be deemed subject to the implied covenant of good faith and fair dealing

                                                                         16   in order to prevent the agreement from being illusory.

                                                                         17          To the extent Zombie suggests that YouTube does not in fact have complete discretion

                                                                         18   under the YouTube Partner Program Terms, that argument has no merit. According to Zombie,

                                                                         19                  [t]he Partner Program Policies note[] that failing to comply with
                                                                                             these policies could result in disabling ads from your content,
                                                                         20                  making the default assumption that ads are not disabled form
                                                                                             content. Further, the “Monetization Basics & Policies Pages”
                                                                         21                  incorporated into the Partner Program Policies outline[] how ads
                                                                                             will be served onto videos that are approved for the Partner
                                                                         22                  Program, and goes as far to note that “[o]nce you turn on
                                                                                             monetization, it may take some time for ads to appear,” not that ads
                                                                         23                  may not appear at all.
                                                                         24   Opp‟n at 21 (emphasis in original). This provision does not negate the sweeping force of the clear

                                                                         25

                                                                         26   6
                                                                               One could argue that the subscription revenue term also gives discretionary authority to
                                                                         27   YouTube that should be limited by the implied covenant. However, Zombie made no such
                                                                              argument in its papers. And even though Zombie did raise the argument at the hearing, the
                                                                         28   discretion is fairly limited in nature – i.e., allowing YouTube to determine what the “subset of
                                                                              participating content” is.
                                                                                                                                   14
                                                                         1    and explicit provision: “YouTube is not obligated to display any advertisements alongside your

                                                                         2    videos.” Nothing in the Partner Program Policies suggests that violation of the policies is the only

                                                                         3    reason why YouTube is not obligated to display advertisements; it is simply one reason.

                                                                         4                                           III.   CONCLUSION

                                                                         5           Accordingly, the Court agrees with YouTube that all of Zombie‟s claims (the § 17200

                                                                         6    claim; the claims for breach of contract, the implied covenant, and quasi-contract; and the claim

                                                                         7    for tortious interference) are subject to dismissal given the explicit terms of the agreement.

                                                                         8    Moreover, the dismissal is with prejudice. YouTube challenged Zombie‟s original complaint on

                                                                         9    the same ground, which led to Zombie filing an amended complaint. Because Zombie‟s amended

                                                                         10   complaint failed to cure the deficiency, and because the terms of the agreement are clear, any

                                                                         11   further amendment to the complaint would be futile.

                                                                         12          For the foregoing reasons, YouTube‟s motion to dismiss is granted. The dismissal is with
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                                                                         13   prejudice. Accordingly, the Clerk of the Court shall enter judgment in accordance with this

                                                                         14   opinion and close the file in this case.

                                                                         15          This order disposes of Docket No. 29.

                                                                         16

                                                                         17          IT IS SO ORDERED.

                                                                         18

                                                                         19   Dated: March 7, 2018

                                                                         20                                                    ______________________________________
                                                                                                                               EDWARD M. CHEN
                                                                         21                                                    United States District Judge
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